        Case 4:19-cv-01855-CLM Document 43 Filed 07/17/20 Page 1 of 5                      FILED
                                                                                   2020 Jul-17 PM 06:04
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

ROY S. MOORE,
                   Plaintiff,                    Civil Action
      v.
                                                 Case No. 4:19-cv-01855-CLM
GUY CECIL; PRIORITIES USA;
SENATE MAJORITY PAC (SMP);
BULLY PULPIT INTERACTIVE
LLC; and WATERFRONT
STRATEGIES,
                   Defendants.


              NOTICE REGARDING DISCIPLINARY ACTION
                   AGAINST PLAINTIFF’S COUNSEL

      Pursuant to Local Rule 83.1(f), Defendants in this matter respectfully submit

the following notice regarding disciplinary action taken by the District of Columbia

Court of Appeals against Plaintiff’s counsel, Larry Klayman. As explained below,

prior to filing this notice, Defendants’ counsel attempted to confer with Mr. Klayman

on multiple occasions to avoid the need for Defendants to file this notice themselves.

      1.     On June 11, 2020, the District of Columbia Court of Appeals issued a

decision accepting its Board on Professional Responsibility’s recommendation that

Mr. Klayman be suspended from the practice of law for 90 days. In re Klayman, ---

A.3d ---, 2020 WL 3088858 (D.C. Ct. App. June 11, 2020) (the “DCCA Order”).

The DCCA Order concludes by instructing that “effective thirty days after entry of

this order,” i.e., July 11, 2020, “Mr. Klayman is suspended from the practice of law.”
         Case 4:19-cv-01855-CLM Document 43 Filed 07/17/20 Page 2 of 5




Id. at *4.

       2.     This Court’s Local Rule 83.1(f) provides that an attorney appearing in

this Court pro hac vice “shall promptly notify the Clerk of this court upon []

being . . . suspended, or publicly disciplined by another court or disciplinary

authority.”

       3.     On June 15, believing Local Rule 83.1(f) required Mr. Klayman to

notify this Court of his impending suspension, Defendants’ counsel contacted Mr.

Klayman to determine whether he intended to notify the Court of the DCCA Order.

Mr. Klayman responded by indicating that, because he still had the opportunity to

file a petition for rehearing en banc, he believed that the DCCA Order was not yet

final and thus he had no obligation to notify the Court regarding the DCCA Order.

Defendants’ counsel took no further action.

       4.     According to the D.C. Court of Appeals’ docket for Mr. Klayman’s

disciplinary proceedings, Mr. Klayman filed a “petition for rehearing” regarding the

DCCA Order on June 25, 2020. The court denied that petition on July 6, 2020. 1

       5.     On July 14, after determining that the D.C. Bar’s website lists Mr.

Klayman as under “disciplinary suspension,” Ex. 1, Defendants’ counsel contacted

Mr. Klayman to determine whether, in light of the denial of his petition for rehearing,




1
   The D.C. Court of Appeals docket for Mr. Klayman’s disciplinary proceedings can be found at:
https://efile.dcappeals.gov/public/caseView.do?csIID=61571.


                                             -2-
        Case 4:19-cv-01855-CLM Document 43 Filed 07/17/20 Page 3 of 5




he intended to notify this Court of the DCCA Order. In response, Mr. Klayman

asserted his view that the DCCA Order is still not final because on July 13 he filed

a petition for rehearing en banc.

      6.     The DCCA Order does not state that Mr. Klayman’s suspension would

be delayed in the event he filed a petition for rehearing or for rehearing en banc. The

date on which Mr. Klayman’s suspension is scheduled to take effect, pursuant to the

DCCA Order, has now passed. At the time of this filing, the D.C. Bar’s website lists

Mr. Klayman as under “disciplinary suspension.” Ex. 1.

      7.     Defendants’ counsel have not confronted a situation like this, in which

they believe opposing counsel is currently suspended from the practice of law, but

recognize that collateral proceedings regarding that suspension may still be ongoing.

But as officers of this Court who owe a duty of candor and believe that Mr. Klayman

is not complying with his obligations under Local Rule 83.1(f), Defendants’ counsel

believe it is their obligation to apprise this Court of the relevant circumstances so

that it can determine whether further action is appropriate. For that reason,

Defendants submit this Notice to the Court so that the parties can proceed as the

Court deems appropriate in the circumstances.




                                         -3-
       Case 4:19-cv-01855-CLM Document 43 Filed 07/17/20 Page 4 of 5




Filed: July 17, 2020                 Respectfully submitted,

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                          Attorneys for Defendants




                                    -4-
        Case 4:19-cv-01855-CLM Document 43 Filed 07/17/20 Page 5 of 5




                        CERTIFICATE OF SERVICE

      I hereby certify that on July 17, 2020, I filed a copy of the foregoing Notice

Regarding Disciplinary Action Against Plaintiff’s Counsel with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.



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                                      /s/ Marc E. Elias
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                                       -5-
